Case 1:22-cv-10599-PBS   Document 14-2   Filed 06/22/22   Page 1 of 2




                    Exhibit 1
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Page 2 of 2
Filed 06/22/22
Document 14-2
Case 1:22-cv-10599-PBS




                                      Gorton
                               0131-0661-A-045-E
                                H5-1865 MC# 2485 Grilled Tilapia-Sognature Grilled (Text Revision as of 11/20/19 & 11/21/19 E-Mails.)
                                11/21/2019 09:33 am
                         Cyan       Magenta      Yellow     Black    PANTONE 3125 C PANTONE    PANTONE
                                                                          Blue        Reflex      917C
                                                                      w/33%Black      Blue C     Yellow
                         15°           75°         0°        45°         15°           45°         75°
                         Gloss
                         Cyrel
